                          Case: 24-2643, 04/25/2024, DktEntry: 2.1, Page 1 of 2

                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                        APR 25 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-2643
       Originating Case Number: 3:23-cv-03836-CRB
       Short Title:             X Corp. v. Center for Countering Digital Hate, Inc., et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
                           Case: 24-2643, 04/25/2024, DktEntry: 2.1, Page 2 of 2

                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-2643
        Originating Case Number: 3:23-cv-03836-CRB
        Case Title:              X Corp. v. Center for Countering Digital Hate, Inc., et
                                 al.



        Tuesday, April 30, 2024
        X Corp.                                               Mediation Questionnaire due

        Tuesday, June 4, 2024
        X Corp.                                               Appeal Opening Brief (No
                                                              Transcript Due)

        Friday, July 5, 2024
        Center for Countering Digital Hate, Inc.              Appeal Answering Brief (No
                                                              Transcript Due)
        Center for Countering Digital Hate Ltd.               Appeal Answering Brief (No
                                                              Transcript Due)
        Stichting European Climate Foundation                 Appeal Answering Brief (No
                                                              Transcript Due)


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
       hearings, the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
